 Case 19-02947-jw                Doc 8   Filed 05/31/19 Entered 05/31/19 18:04:35                      Desc Main
                                         Document      Page 1 of 11

                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF SOUTH CAROLINA

INRE:                                        )
                                             )        CASE NO: 19- Q'J_G\'-\7-         w
Joseph Junior Banks                          )
POBox534                                     )        CHAPTER13
Summerville, SC 29484                        )
SSN xxx-xx-0804                              )
                                             )
                             DEBTOR.         )


                   NOTICE OF OPPORTUNITY TO OBJECT AND CONFIRMATION HEARING

       The debtor(s) in the above captioned case filed a chapter 13 plan on      S - ~\- \ 9         . The plan is
attached.

      Your rights may be affected by the plan. You should read the plan carefully and discuss it with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult
one.)

       Any objection to confirmation of the chapter 13 plan must be in writing, filed with the Court at 1100 Laurel
Street, Columbia, SC 29201-2423, and served on the chapter 13 trustee, the debtor(s), and any attorney for the
debtor(s) no later than 21 days after the service of the chapter 13 plan, as computed under Fed. R. Bankr. P. 9006(a).
Objections to confirmation may be overruled if filed late or the objecting party fails to appear and prosecute the
objection. If no objection is timely filed, the plan may be confirmed by the Court without further notice.

      If you file an objection, you or your attorney must attend the hearing scheduled by the court on confirmation of
the plan. Notice of the confirmation hearing is provided in section 9 of the Notice of Chapter 13 Bankruptcy Case.
However, the Court may set an earlier status hearing on any objection upon notice to the applicable parties.

       If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought
in the plan and may enter an order confirming the plan.


                                                       Respectfully Submitted,




                     -_1_9'---
Date:_5------'--~~-'--\
                Case 19-02947-jw                          Doc 8      Filed 05/31/19 Entered 05/31/19 18:04:35                      Desc Main
 Fill in this information to identi our case:                        Document      Page 2 of 11
 Debtor l               Joseph Junior Banks                                                                            Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Com1 for the:          DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          5/19


               Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court's local rules, and judicial rulings may not be confirm able.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                           confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                           applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice ifno
                           objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                           3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                           interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each ofthe following items. If an item is checked as "Not Included" or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included               D    Not Included
              a partial payment or no pavment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, non purchase-money security interest,            D Included                     Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included               D    Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                        D Included                     Not Included
              throueh olan, set out in Section 3.Hc) and in Part 8

iffifW Plan Payments and Length of Plan
2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


 $1,800.00 per Month for 14 months
 $2,000.00 per Month for 43 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.


.Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                    Best Case Bankruptcy
               Case 19-02947-jw                          Doc 8      Filed 05/31/19 Entered 05/31/19 18:04:35                         Desc Main
                                                                    Document      Page 3 of 11
 Debtor                 Joseph Junior Banks                                                        Case number

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
             D        The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
             D        Other (specify method of payment):


2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                          The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If"None" is checked, the rest of§ 2.4 need not be completed or reproduced.

•ffl•W Treatment of Secured Claims
To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362( c)(3) or (c)( 4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

                          None. If"None" is checked, the rest of§ 3.1 need not be completed or reproduced.

3.2          Request for valuation of security and modification ofundersecured claims. Check one.

              D           None. If"None" is checked, the rest of§ 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                                    The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                          secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                          Estimated amount ofsecured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                          motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                          value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                          amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
                          below.

                                    The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                          under Part 5.1 of this plan. If the estimated amount of a creditor's secured claim is listed below as having no value, the creditor's
                          allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the
                          Court, the amount of the creditor's total claim listed on the proof of claim controls over any contrary amounts listed in this
                          paragraph.

                                       Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders ofsecured claims shall retain liens to the extent provided by
District of South Carolina
Effective May I, 2019                                                          Chapter 13 Plan                                                    Page 2
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                       Best Case Bankruptcy
               Case 19-02947-jw                           Doc 8        Filed 05/31/19 Entered 05/31/19 18:04:35                      Desc Main
                                                                       Document      Page 4 of 11
 Debtor                 Joseph Junior Banks                                                            Case number

                          section 1325(a)(5)(B)(i). Unless there is a non-filing co-debtor who continues to owe an obligation secured by the lien, any
                          secured creditor paid the allowed secured claim provided for by this plan shall release its liens at the earliest of the time required
                          by applicable state law, order of this Court, or thirty (30) days from the entry of the discharge.

 Name of               Estimated              Collateral             Value of         Amount of claims       Estimated amount   Interest       Estimated
 creditor              amount of                                     collateral       senior to creditor's   of secured claim   rate           monthly
                       creditor's                                                     claim                                                    payment to
                       total claim                                                                                                             creditor
                                                                                                                                               (disbursed by
                                                                                                                                               the trustee)


                                              2016
                                              Hyundai
                                              Genesis
                                              67,550
                                              miles
 American                                     VIN:
 Credit                                       KMHGN4J
 Acceptan              $34,465.0              E3GU1279
 ce                    0                      55                     $21,950.00                   $0.00           $21,950.00      6.25%                $447.00
                                                                                                                                               (or more)

Insert additional claims as needed.

  3.3         Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

      Check one.
                          None. If "None" is checked, the rest of§ 3.3 need not be completed or reproduced.
                          The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                          obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens
                          at the earliest of the time required by applicable state law, order of this Court, or upon completion of the payment of its allowed
                          secured claim in this case.

 Name of Creditor                    Collateral                                   Estimated amount of claim     Interest rate    Estimated monthly payment
                                                                                                                                 to creditor

 American First
 Finance, Inc.                       Furniture                                                 $2,031.74               6.25%                                   $42.00
                                                                                                                                 (or more)

                                                                                                                                Disbursed by:
                                                                                                                                   Trustee
                                                                                                                                D Debtor
                                     2 Electric Guitars ($750)
                                     Acoustic Guitar ($300)
                                     Bass Guitar ($50)
 American Music                      Drum Set ($150)
 Supply                              Keyboard ($250)                                           $1,409.24               6.25%                                   $63.00
                                                                                                                                 (or more)

                                                                                                                                Disbursed by:
                                                                                                                                   Trustee
                                                                                                                                D Debtor
Insert additional claims as needed.

3.4          Lien avoidance.


District of South Carolina
Effective May 1, 2019                                                               Chapter 13 Plan                                               Page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                  Case 19-02947-jw                      Doc 8      Filed 05/31/19 Entered 05/31/19 18:04:35                        Desc Main
                                                                   Document      Page 5 of 11
Debtor                 Joseph Junior Banks                                                       Case number

Check one.
              [il        None. If"None" is checked, the rest of§ 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
              D      None. If"None" is checked, the rest of§ 3.5 need not be completed or reproduced.
             [il     The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                     confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under§ 1301
                     be terminated in all respects. A copy of this plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                     claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                     reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated in Part 5.1 below.

 Name of Creditor                                                               Collateral
                                                                                2007 Ford Expedition
                                                                                VIN: 1FMFK19577LA37754

                                                                                (surrender)
                                                                                (The debtor's estranged wife drives, maintains and pays for this
 American Federal Auto, LLC                                                     vehicle.)
                                                                                17 Harbor Lane Staten Island, NY 10303 Richmond County
                                                                                Block 1186 Lot 148
 Ocwen Loan Servicing LLC                                                       (surrender)
                                                                                17 Harbor Lane Staten Island, NY 10303 Richmond County
                                                                                Block 1186 Lot 148
 Specialized Loan Servicing, Inc.                                               (surrender)

Insert additional claims as needed.


              Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in§ 4.5, will be paid in full
without postpetition interest.

4.2          Trustee's fees

Trustee's fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.           The debtor and the debtor's attorney have agreed to an attorney's fee for the services identified in the Rule 2016(b) disclosure
                          statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                          disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                          disburse a dollar amount consistent with the Judge's guidelines to the attorney from the initial disbursement. Thereafter, the
                          balance of the attorney's compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                          each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                          instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                          entered by the C01,1rt, without further notice, which allows for the payment of a portion of the attorney's fees in advance of
                          payments to creditors.

             b.           If, as an alternative to the above treatment, the debtor's attorney has received a retainer and cost advance and agreed to file fee
                          'applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                          in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                          received $_ _ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_ _ or less.

4.4          Priority claims other than attorney's fees and those treated in § 4.5.



District of South Carolina
Effective May 1, 2019                                                        Chapter 13 Plan                                                    Page 4
Software Copyright (c) 1996-2019 Best Case, LLC-www.bestcase.com                                                                      Best Case Bankruptcy
               Case 19-02947-jw                          Doc 8       Filed 05/31/19 Entered 05/31/19 18:04:35                          Desc Main
                                                                     Document      Page 6 of 11
 Debtor                 Joseph Junior Banks                                                           Case number


             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
             pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

              Check box below if there is a Domestic Support Obligation.


              D           Domestic Support Claims. 11 U.S.C. § 507(a)(l):

                           a.            Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                         DSO recipient), at the rate of$___ or more per month until the balance, without interest, is paid in full. Add
                                         additional creditors as needed

                           b.            The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                         directly to the creditor.

                           c.            Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                         obligations from property that is not property bf the estate or with respect to the withholding of income that is property
                                         of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                         order or a statute.

4.5           Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

              Check one.
                      None. If"None" is checked, the rest of§ 4.5 need not be completed or reproduced.



iil•M Treatment ofNonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
      D         The debtor proposes payment of 100% of claims.
      D         The debtor proposes payment of 100% of claims plus interest at the rate of%.




5.2          Maintenance of payments and cure of any default on non priority unsecured claims. Check one.

                          None. If"None" is checked; the rest of§ 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If"None" is checked, the rest of§ 5.3 need not be completed or reproduced.

•il•M Executory Contracts and Unexpired Leases
6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

              D           None. If"None" is checked, the rest of§ 6.1 need not be completed or reproduced.
                          Assumed items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any
                          contrary court order or rule. Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.




District of South Carolina
Effective May 1, 2019                                                            Chapter 13 Plan                                                    Page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
               Case 19-02947-jw                          Doc 8      Filed 05/31/19 Entered 05/31/19 18:04:35                    Desc Main
                                                                    Document      Page 7 of 11
 Debtor                 Joseph Junior Banks                                                        Case number

 Name of Creditor              Description ofleased                 Current installment           Estimated amount of       Estimated monthly
                               property or executory                payment                       arrearage through month   payment on arrearage to be
                               contract                                                           of filing or conversion   disbursed by the trustee
 CG at                         Residential Apartment
 Commerce                      Lease
 Park                          (assume-current)                                   $1,093.00                        $0.00                                 $0.00

                                                                                                                            (or more)
 JDM
 Management
 DBA Rim Tyme                  Rims and Tires                                       $226.68                        $0.00                                 $0.00

                                                                                                                            (or more)

Insert additional claims as needed.

              Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the applicable box:

      li]     Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

      D       Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

              Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
              D     None. If"None" is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
this form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in tlte box "Included" in§ 1.3.
 8.1 (a)The debtor reserves the right to seek loss mitigation or modification of the mortgage loan using the Loss
Mitigation/Mortgage Modification Portal procedures described in Chambers Guidelines during the bankruptcy case, which
 may be effective upon subsequent approval by order of the Court.

 8.1 (b) Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack
 thereof, in a proof of claim. The debtor specifically reserves any currently undiscovered or future claims, rights or cause of
 action the debtor may have, regarding any issues not specifically addressed or determined by the plan, against any creditor
 or other party in interest including, but not limited to, violations of applicable consumer protections codes and actions
 under 11 U.S.C. §§ 542, 543, 544, 547 and 548.

 8.1 (c) Confirmation of this plan may determine the character (secured, unsecured, or priority), amount, and timing of
 distribution of a creditor's claim regardless of the proof of claim filed. If a creditor objects to a claim's treatment under the
 plan, the creditor must timely object to confirmation.

 8.1 (d) DEBTOR CERTIFICATION

 In connection with this plan, the debtor hereby states that he/she/they carefully reviewed this plan and understand the
 following:

 (1) The obligations set forth in this plan, including the amount, method, and timing of payments made to the trustee and/or
 directly to creditors;



District of South Carolina
Effective May 1, 2019                                                           Chapter 13 Plan                                             Page 6
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                 Best Case Bankruptcy
                Case 19-02947-jw                          Doc 8      Filed 05/31/19 Entered 05/31/19 18:04:35              Desc Main
                                                                     Document      Page 8 of 11
 Debtor                 Joseph Junior Banks                                                                  Case number

 (2) The consequences of any default under this plan including any direct payments to creditors required by the terms of this
 plan; and

 (3) That debtor may not agree to sell property, employ professionals, or incur debt (including modification of debt) during
 the term of the plan without the prior authorization of the Bankruptcy Court.


              Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor,            if any, must sign below.
 X      (/dA;_JLL
       ~Junior~
                                        s&~                                            X
                                                                                               Signature of Debtor 2
        Signature of Debtor

                                                                                               Executed on

 X                                                                                     Date         Y/2/);f
                                                                                                     /'
        Meredit aw Firm, LLC
              aber Place Drive, Suite 120
         orth Charleston, SC 29405
        843-529-9000 (p)
        843-529-9907 (t)

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




District of South Carolina
Effective May 1, 2019                                                               Chapter 13 Plan                                   Page7
Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                           Best Case Bankruptcy
Case 19-02947-jw            Doc 8      Filed 05/31/19 Entered 05/31/19 18:04:35                      Desc Main
                                       Document      Page 9 of 11

                                  UNITED STATE BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA


                                                                      0~~~'1-JW
INRE:                                       )
                                            )        CASE NO: 19-
Joseph Junior Banks                         )
POBox534                                    )        CHAPTER13
Summerville, SC 29484                       )
SSN xxx-xx-0804                             )
                                            )
                          DEBTOR.           )



                                         CERTIFICATE OF SERVICE

          The above-signing parties certify that the foregoing Notice, Plan and Motions was served on all creditors
and parties in interest entitled to such notice on the above stated date. The specific list of names and addresses of
parties served with this plan is attached to the plan filed with the Court.                ·

VIA US MAIL
(see attached list)

ELECTRONICALLY
James M. Wyman
Chapter 13 Trustee
PO Box 997
Mt. Pleasant, SC 29465-0997


Date:    le \z>\ l'1
                                                     Shawnda Engram, Paral al for
                                                     Robert R. Meredith, Jr., D.C. I.D. #06152
                                                     Elizabeth R. Heilig, D.C. I.D. #10704
                                                     Meredith Law Firm, LLC
                                                     Attorneys for Debtor
                                                     4000 Faber Place Drive, Suite 120
                                                     North Charleston, SC 29405
                                                     843-529-9000
               Case 19-02947-jw      Doc 8   Filed 05/31/19 Entered 05/31/19 18:04:35        Desc Main
                                             Document      Page 10 of 11
Advance America Cash                     American Credit Acceptance
                                                                            American Federal Auto, LLC
710 Bacons Bridge Road Ste A             Attn: Bankruptcy Dept
                                                                            711 W 5th North Street
Summerville, SC 29485                    961 E Main St
                                                                            Summerville, SC 29483
                                         Spartanburg,-SC 29302



                                                                            AmeriCredit/GM Financial
American First Finance, Inc.             American Music Supply
                                                                            Attn: Bankruptcy
3515 N Ridhge Road Ste 200               8 Thornton Road
                                                                            Po Box 183853
Wichita, KS 67205                        Oakland, NJ 07436
                                                                            Arlington, TX 76096



Axcess Financial                         Cash Net USA
                                                                            CG at Commerce Park
7755 Montogomery Road                    175 W. Jackson Blvd
                                                                            3785 Ladson Road
Suite 400                                Suite 1000
                                                                            Ladson, SC 29456
Cincinnati, OH 45236                     Chicago, IL 60604



                                         Credit One Bank                    Diversified Adjustment Services, Inc
ChecknGo
                                         Attn: Bankruptcy Department        Dasi-Bankrupcty •
975 Bacons Bridge Road Ste 164
                                         Po Box 98873                       600 Coon Rapids Blvd, NW
Summerville, SC 29485
                                         Las Vegas, NV 89193                Coon Rapids, MN 55433



                                         ERC/Enhanced Recovery Corp
Edith Harris                                                                First Access
                                         Attn: Bankruptcy
17 Harbor Lane                                                              PO Box 89028
                                         80 U Bayberry Road
Staten Island, NY 10303                                                     Sioux Falls, SD 57109
                                         Jacksonville, FL 32256



Hyundai Motor Finance                    I C System Inc                     Internal Revenue Service
Attn: Bankruptcy                         Attn: Bankruptcy                   Centralized Insolvency Operations
Po Box20829                              Po Box64378                        PO Box 7346
Fountain City, CA 92728                  St Paul, MN 55164                  Philadelphia, PA 19101-7346




JDM Management DBA Rim Tyme              MAA                                Mary Banks
2127 Ashley Phosphate Road               PO Box 115009                      216 Blue Heron
Charleston, SC 29406                     Carrollton, TX 75011               Summerville, SC 29485




MidAmerica Bank & Trust Company          National Credit Adjusters, LLC     NCB Management Services
Attn: Bankruptcy                         327 West 4th Avenue                Attn: Bankruptcy
216 West Second St                       Po Box3023                         One Allied Drive
Dixon, MO 65459                          Hutchinson, KS 67504               Trevose, PA 19053



New York State                           Ocwen Loan' Servicing LLC
Department of Taxation and Finance       Attn Bankruptcy Dept               Portfolio Recovery Associates, LLC
Bankruptcy Section                       1661 Worthington Rd                PO Box 41067
PO Box 5300                              Suite 100                          Norfolk, VA 23541-1067
Albany, NY 12205-0300                    West Palm Beach, FL 33409-6493



RAS Boriskin, LLC                        SC Department of Revenue           Specialized Loan Servicing, Inc.
900 Merchangs Concourse Ste 310          PO Box 12265                       8742 Lucent Blvd #300
Westbury, NY 11590                       Columbia, SC 29211                 Littleton, CO 80129
              Case 19-02947-jw   Doc 8   Filed 05/31/19 Entered 05/31/19 18:04:35   Desc Main
                                         Document      Page 11 of 11
US Attorney General
                                     US Attorneys Office
U.S. Department of Justice
                                     1441 Main Street
950 Pennsylvania Avenue, NW
                                     Suite 500
Washington, DC 20530-0001
                                     Columbia, SC 29201
